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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

v.                                                      No. 23-10159-IT

JACK DOUGLAS TEIXEIRA,

                Defendant



                               PROTECTIVE ORDER
                      PERTAINING TO CLASSIFIED INFORMATION

       This matter comes before the Court upon the United States’ Consent Motion for Protective

Order Pursuant To Section 3 of the Classified Information Procedures Act (“CIPA”). Pursuant to

the authority granted under Section 3 of CIPA, the “Revised Security Procedures Established

Pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the

Protection of Classified Information” (“Security Procedures”) (reprinted after CIPA § 9), Rules 16

and 57 of the Federal Rules of Criminal Procedure, and the general supervisory powers of the
                                                                                          1
Court, and to protect the national security, the following Protective Order is entered:

       1.       The Court finds that this case will involve information that has been classified in

the interest of national security. The storage, handling, and control of this information will require

special security precautions mandated by statute, executive order, and regulation, and access to

this information requires appropriate security clearances and need-to-know, as set forth in




1
 The Court understands that the government may move for a supplemental protective order
depending on the nature of additional information that is determined to be discoverable.
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Executive Order 13526 (or successor order), that has been validated by the government.2 The

purpose of this Order is to establish procedures that must be followed by counsel and the parties

in this case. These procedures will apply to all pretrial, trial, post-trial, and appellate matters

concerning classified information and may be modified from time to time by further Order of the

Court acting under its inherent supervisory authority to ensure a fair and expeditious trial.

       2.       Definitions. The following definitions shall apply to this Order:

                a.     “Government” or “the government” refers collectively to the Department of

Justice prosecutors and support staff, as well as any law enforcement or intelligence community

employees assisting in the prosecution of this matter.

                b.     “Defense” or “defense team” refers collectively to counsel for Defendant

Jack Douglas Teixeira (the “Defendant”) and any support staff, investigators, or experts assisting

the Defendant’s counsel authorized to receive classified information pursuant to this Order.

                c.     “Classified information” shall include:

                      i.       Any document, recording, or information that has been classified by

any Executive Branch agency in the interests of national security pursuant to Executive Order

13526, as amended, or its predecessor or successor orders, as “CONFIDENTIAL,” “SECRET,”

“TOP    SECRET,”       or   additionally   controlled    as   “SENSITIVE     COMPARTMENTED

INFORMATION” (“SCI”);

                     ii.       Any document, recording, or information now or formerly in the

possession of a private party that (A) has been derived from information that was classified by the




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  Any individual to whom classified information is disclosed pursuant to this Order shall not
disclose such information to another individual unless the U.S. agency that originated that
information has validated that the proposed recipient possesses an appropriate security clearance
and need-to-know.
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United States Government, and/or (B) has been classified by the United States Government as set

forth above;

                    iii.       Verbal or other unwritten or unrecorded information known to the

Defendant or the defense team that has been classified by the United States Government as set

forth above;

                    iv.        Any information, regardless of its origin, that the defense knows or

reasonably should know contains classified information, including information acquired or

conveyed orally;

                     v.        Any document, recording, or information as to which the defense

has been notified orally or in writing contains classified information; and

                    vi.        Any document, recording, or information that is classified, as set

forth in (i), and that has been approved by the government or the Court for limited authorized

disclosure to the Defendant pursuant to the restrictions set forth herein. All classified information

that is approved by the government or the Court for limited authorized disclosure to the Defendant

will contain an appropriate classification marking and will be marked “Provided to JACK

DOUGLAS TEIXEIRA, in United States v. Teixeira, 1:23-cr-10159.”3

               d.      “Document,” “materials,” and “information” shall include, but are not

limited to:

                      i.       all written, printed, visual, digital, electronic, or audible matter of



3
  The government’s discovery obligations likely require disclosure of government information
seized from the Defendant or through lawfully executed search warrants that has not been formally
reviewed for classification. Any such information shall be handled as classified, consistent with
this Order and the Memorandum of Understanding referred to herein, unless and until the
government confirms that it is not classified. If the Court or a party to the case seeks to use or
disclose information that has not been formally reviewed for classification, the Court and the
parties shall address such use or disclosure pursuant to CIPA.
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any kind, formal or informal, including originals, conforming copies, and non-conforming copies

(whether different from the original by reason of notation made on such copies or otherwise), as

well as metadata;

                      ii.      notes    (handwritten,   oral,   or   electronic);   papers;   letters;

correspondence; memoranda; reports; summaries; photographs; maps; charts; graphs; inter-office

communications; notations of any sort concerning conversations, meetings or other

communications; bulletins; teletypes; telecopies; telegrams; telexes; transcripts; cables; facsimiles;

invoices; worksheets and drafts; microfiche; microfilm; videotapes; sound recordings of any kind;

motion pictures; electronic, mechanical or electric records of any kind, including but not limited

to tapes, cassettes, disks, recordings, films, typewriter ribbons, word processing or other computer

tapes, disks, or thumb drives and all manner of electronic data processing storage; and alterations,

modifications, changes and amendments of any kind to the foregoing; and

                     iii.      information obtained orally.

                e.      “Access to classified information” shall mean having access to, reviewing,

reading, learning, or otherwise coming to know in any manner classified information.

                f.      “Secure Area” shall mean a Sensitive Compartmented Information Facility

(“SCIF”) approved by a designated Classified Information Security Officer (“CISO”) for the

appropriate storage, handling, and control of classified information.

                                       Classified Information

       3.       All classified documents, and classified information contained therein, shall remain

classified unless the documents bear a clear indication that they are not classified or have been

declassified by the agency or department that originated the document or information contained

therein (“originating agency”).

       4.       All access to classified information shall conform to this Order and the
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Memorandum of Understanding described herein.

       5.       The government may disclose classified information to the defense and/or the

Defendant. The Defendant may also disclose classified information to the defense in an appropriate

secure environment as necessary for the preparation of his defense. Any classified information

provided to the defense by the government or the Defendant is to be used solely by the defense

and solely for the purpose of preparing the defense. The defense may not disclose or cause to be

disclosed in connection with this case any information known or reasonably believed to be

classified information except as otherwise provided herein.

       6.       The defense may not disclose classified information to the Defendant unless that

same information has been previously disclosed to the defense by the Defendant or unless the

government has approved its release to the Defendant and marked it “Provided to JACK

DOUGLAS TEIXEIRA, in United States v. Teixeira, 1:23-cr-10159.” Any classified information

that the government discloses to the defense that is not to be shared with the Defendant shall be

marked accordingly (for example, “Attorney’s Eyes Only”). The defense may not confirm or deny

to the Defendant the assertions made by the Defendant based on knowledge the defense may have

obtained from classified information, except where that classified information has been provided

to the Defendant pursuant to this Order. Any classified information the defense discloses to or

discusses with the Defendant in any way shall be handled in accordance with this Order and the

attached Memorandum of Understanding, including such requirements as confining all

discussions, documents, and materials to an accredited SCIF.

       7.       The defense and the Defendant shall not disclose classified information to any

person, except to the Court, government personnel who hold appropriate security clearances and

have been determined to have a need-to-know that information, and those specifically authorized
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to access that information pursuant to this Order.

       8.       Information that is classified that also appears in the public domain is not thereby

automatically declassified unless it appears in the public domain as the result of an official

statement by a U.S. Government Executive Branch official who is authorized to declassify the

information. Individuals who, by virtue of this Order or any other court order, are granted access

to classified information may not confirm or deny classified information that appears in the public

domain. Prior to any attempt by the defense to have such information confirmed or denied at trial

or in any public proceeding in this case, the defense must comply with the notification

requirements of Section 5 of CIPA and all provisions of this Order.

       9.       In the event that classified information enters the public domain, the defense is

precluded from making private or public statements where the statements would reveal personal

knowledge from non-public sources regarding the classified status of the information, or would

disclose that the defense had personal access to classified information confirming, contradicting,

or otherwise relating to the information already in the public domain. If there is any question as to

whether information is classified, the defense must handle that information as though it is classified

unless counsel for the government confirms that it is not classified.

                                       Security Procedures

       10.      In accordance with the provisions of CIPA and the Security Procedures, the Court

has designated Harry J. Rucker as the CISO and Daniel O. Hartenstine, Matthew W. Mullery,

Daniella M. Medel, and W. “Scooter” Slade, as alternate CISOs for this case, for the purpose of

providing security arrangements necessary to protect against unauthorized disclosure of any

classified information that has been made available to the defense in connection with this case.

The CISOs listed above have the appropriate level of security clearances and need-to-know to
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handle classified documents in this case. The defense shall seek guidance from the CISO with

regard to appropriate storage, handling, transmittal, and use of classified information.

       11.     The government has advised the Court that Assistant United States Attorneys

Nadine Pellegrini, Jared Dolan, and Jason Casey, and U.S. Department of Justice National Security

Division Trial Attorney Christina Clark, as well as their supervisors (“counsel for the

government”), have security clearances allowing them to have access to classified information that

counsel for the government intend to use, review, or disclose in this case.

       12.     The Court has been advised, through the CISO, that the Defendant’s counsel,

Michael Bachrach, has a security clearance4 permitting him to have access to the classified

information that counsel for the government intend to use and disclose pursuant to this Order. The

CISO has advised that Defendant’s counsel Brendan Kelley and Gene Franco are in the process of

applying for a security clearance.

       13.     Protection of Classified Information. The Court finds that to protect the classified

information involved in this case, to the extent that defense counsel have the requisite security

clearances and a “need-to-know” the classified information, they shall be given authorized access

to classified national security documents and information as required by the government’s

discovery obligations and subject to the terms of this Protective Order, the requirements of CIPA,

the Memorandum of Understanding attached hereto, and any other Orders of this Court.

       14.     The Defendant has a continuing contractual obligation to the United States

government not to disclose to any unauthorized person classified information known to him or in

his possession. The government is entitled to enforce those agreements to maintain the



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  The CISO will work with the parties to ensure that the Defendant’s counsel receive any
requisite additional clearances prior to review of any information for which additional programs
are applicable, should such a need arise.
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confidentiality of classified information. Moreover, because the allegations in this case involve

breaches of agreements the Defendant entered into regarding the handling of classified

information, the Defendant must sign the Memorandum of Understanding. In addition, the

Defendant is subject to this Court’s authority, contempt powers, and other authorities, and shall

fully comply with the nondisclosure agreements he has signed, this Order, the Memorandum of

Understanding, and applicable statutes.

         15.   The signed Memorandum of Understanding shall be filed with the Court and the

CISO, and executed copies of the Memorandum of Understanding shall be served upon the

government. The substitution, departure, or removal for any reason from this case of counsel for

the Defendant or any other member of the defense, shall not release that individual from the

provisions of this Order or the Memorandum of Understanding executed in connection with this

Order.

         16.   Pursuant to Section 4 of the security procedures promulgated pursuant to CIPA, no

court personnel required by this Court for its assistance shall have access to classified information

involved in this case unless that person shall first have received the necessary security clearance

as determined by the CISO.

         17.   Any additional persons whose assistance the defense reasonably requires may only

have access to classified information in this case if they are granted an appropriate security

clearance through the CISO, obtain approval from this Court with prior notice of the identity of

the additional persons to the U.S. government agency that originated the information, and satisfy

the other requirements described in this Order for access to classified information.

         18.   An individual with a security clearance and a need-to-know as determined by any

government entity is not automatically authorized to disclose any classified information to any
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other individual, even if that other individual also has a security clearance. Rather, any individual

who receives classified information may only disclose that information to an individual who has

been determined by an appropriate government entity to have both the required security clearance

and a need-to-know the information.

       19.     Secure Area for the Defense. The Court is informed that the CISO is arranging for

an approved Secure Area that has been accredited by the U.S. Intelligence Community for use by

the defense. The CISO shall establish procedures to assure the Secure Area is accessible during

business hours to the defense, and at other times upon reasonable request as approved by the CISO

in consultation with the United States Marshals Service. The Secure Area shall contain a separate

working area for the defense and will be outfitted with any secure office equipment requested by

the defense that is reasonable and necessary to the preparation of the defense. The CISO, in

consultation with counsel for the Defendant, shall establish procedures to assure that the Secure

Area may be maintained and operated in the most efficient manner consistent with the protection

of classified information and in compliance with accreditation requirements. No classified

documents, material, recordings, or other information may be removed from the Secure Area

unless so authorized by the CISO. The CISO shall not reveal to the government the content of any

conversations he/she may hear among the defense, nor reveal the nature of the documents being

reviewed, or the work being generated. The presence of the CISO shall not operate to render

inapplicable the attorney-client privilege.

       20.     Filing of Papers by the Defense. Any pleading or other document filed by the

defense that counsel for the Defendant knows or reasonably should know contains classified

information as defined in paragraph 2(c), shall be filed as follows:

               a.      The document shall be filed under seal as part of the classified record
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through the CISO or an appropriately cleared designee and shall be marked, “Filed in Camera with

the Classified Information Security Officer.” The time of physical submission to the CISO or an

appropriately cleared designee shall be considered the date and time of filing and should occur no

later than 4:00 p.m. Within a reasonable time after making a submission to the CISO, the defense

shall file on the public record in the CM/ECF system a “Notice of Filing” notifying the Court that

the submission was made to the CISO. The notice should contain only the case caption and an

unclassified title of the filing.

                b.       The CISO shall immediately deliver to the Court and counsel for the

government any pleading or document to be filed by the defense that contains classified

information, unless the pleading or document is an ex parte filing.

        21.     Filing of Papers by the Government. Any pleading or other document filed by the

government that counsel for the government knows or reasonably should know contains classified

information as defined in paragraph 2(c), shall be filed as follows:

                a.       The document shall be filed as part of the classified record through the CISO

or an appropriately cleared designee and shall be marked, “Filed in Camera with the Classified

Information Security Officer.” The time of physical submission to the CISO or an appropriately

cleared designee shall be considered the date and time of filing and should occur no later than 4:00

p.m. Within a reasonable time after making a submission to the CISO, counsel for the government

shall file on the public record in the CM/ECF system a “Notice of Filing” notifying the Court that

the submission was made to the CISO. The notice should contain only the case caption and an

unclassified title of the filing.

                b.       The CISO shall ensure the document is marked with the appropriate

classification marking and remains under seal. The CISO shall immediately deliver under seal to
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the Court and counsel for the defense any pleading or document to be filed by the government that

contains classified information, unless the pleading or document is an ex parte filing.

       22.     Record and Maintenance of Classified Filings. The CISO shall maintain a separate

sealed record for those materials which are classified. The CISO shall be responsible for

maintaining the secured records for purposes of later proceedings or appeal.

       23.     The Classified Information Procedures Act. Procedures for public disclosure of

classified information in this case shall be those established by CIPA. The defense shall comply

with the requirements of CIPA Section 5 prior to any disclosure of classified information during

any proceeding in this case. As set forth in Section 5, the defense shall not disclose any information

known or believed to be classified in connection with any proceeding until notice has been given

to counsel for the government and until the government has been afforded a reasonable opportunity

to seek a determination pursuant to the procedures set forth in CIPA Section 6, and until the time

for the government to appeal any adverse determination under CIPA Section 7 has expired or any

appeal under Section 7 by the government is decided. Pretrial conferences involving classified

information shall be conducted in camera in the interest of the national security, be attended only

by persons granted access to classified information and a need-to-know, and the transcripts of such

proceedings shall be maintained under seal.

       24.     Access to Classified Information. In the interest of the national security,

representatives of the defense granted access to classified information shall have access to

classified information only as follows:

               a.      All classified information produced by the government to counsel for the

Defendant in discovery or otherwise, and all classified information possessed, created or

maintained by the defense, including notes and any other work product, shall be stored, maintained
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and used only in the Secure Area established by the CISO, unless otherwise authorized by the

CISO.

               b.      Special procedures for audio and video recordings. Any classified audio or

video recordings that the government discloses to the defense shall be maintained by the CISO in

the Secure Area. Such recordings may only be reviewed on a stand-alone, non-networked

computer or other device within the Secure Area that does not have the capability to duplicate or

transmit information. To the extent the defense wishes to review the audio of such recordings, the

defense must work with the CISO to procure any necessary equipment.

               c.      The defense shall have free access to the classified information made

available to them in the Secure Area established by the CISO and shall be allowed to take notes

and prepare documents with respect to those materials.

               d.      No representative of the defense (including, but not limited to, counsel,

investigators, paralegals, translators, experts and witnesses) shall copy or reproduce any classified

information in any manner or form, except with the approval of the CISO and in accordance with

the procedures established by the CISO for the operation of the Secure Area.

               e.      All documents prepared by the defense (including, without limitation,

pleadings or other documents intended for filing with the Court) that do or may contain classified

information must be prepared in the Secure Area on equipment approved by the CISO. All such

documents and any associated materials (such as notes, drafts, copies, typewriter ribbons, magnetic

recordings, exhibits, thumb drives, discs, CDs, DVDs exhibits, and electronic or digital copies)

that may contain classified information shall be maintained in the Secure Area unless and until the

CISO determines those documents or associated materials are unclassified in their entirety. None

of these materials shall be disclosed to counsel for the government or any other party.
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               f.     The defense shall discuss classified information only within the Secure Area

or in an area authorized by the CISO.

               g.     The defense shall not disclose, without prior approval of the Court,

classified information to any person not named in this Order except to the Court, Court personnel,

and government personnel identified by the CISO as having the appropriate clearances and the

need-to-know. Counsel for the government shall be given an opportunity to be heard in response

to any defense request for disclosure to a person not identified in this Order. Any person approved

by this Court for access to classified information under this paragraph shall be required to obtain

the appropriate security clearance, to sign and submit to this Court the Memorandum of

Understanding appended to the Order, and to comply with all the terms and conditions of the

Order. If preparation of the defense requires that classified information be disclosed to persons

not named in this Order, the Department of Justice shall promptly seek to obtain security

clearances for them at the request of defense counsel. As set forth above, the defense shall not

disclose classified information, even to an individual with the appropriate security clearance,

without following the procedure referenced in paragraph 17.

               h.     The defense shall not discuss classified information over any standard

commercial telephone instrument or office intercommunication systems, including but not limited

to the Internet and electronic mail (“email”), or in the presence of any person who has not been

granted access to classified information by the Court.

               i.     Any documents written by the defense that do or may contain classified

information shall be transcribed, recorded, typed, duplicated, copied, or otherwise prepared only

by persons who have received an appropriate approval for access to classified information.

               j.     The defense shall not disclose classified information to the Defendant --
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other than materials marked “Provided to JACK DOUGLAS TEIXEIRA, in United States v.

Teixeira, 1:23-cr-10159,” absent written permission of the government. Such permitted disclosure

of classified information to the Defendant, as noted above, shall only be discussed by the defense

within the Secure Area or in an area authorized by the CISO.

       25.     Any unauthorized disclosure or mishandling of classified information may

constitute violations of federal criminal law. In addition, any violation of the terms of this Order

shall be brought immediately to the attention of the Court and may result in a charge of contempt

of Court and possible referral for criminal prosecution. Any breach of this Order may also result

in termination of an individual’s access to classified information. Persons subject to this Order are

advised that direct or indirect unauthorized disclosure, retention or handling of classified

documents or information could cause serious damage, and in some cases exceptionally grave

damage to the national security of the United States, or may be used to the advantage of a foreign

nation against the interests of the United States. The purpose of this Order is to ensure that those

authorized to receive classified information in connection with this case will never divulge that

information to anyone not authorized to receive it.

       26.     All classified documents and information to which the defense has access in this

case are now and will remain the property of the United States. Upon demand of the CISO, all

persons shall return to the CISO all classified information in their possession obtained through

discovery from the government in this case, or for which they are responsible because of access to

classified information. The notes, summaries, and other documents prepared by the defense that

do or may contain classified information shall remain at all times in the custody of the CISO for

the duration of the case. At the conclusion of this case, including any appeals or ancillary

proceedings thereto, all such notes, summaries, and other documents are to be destroyed by the
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CISO in the presence of counsel for the Defendant if they choose to be present.

       27.     Nothing contained in this Order shall be construed as a waiver of any right of the

Defendant. No admission made by the Defendant or her counsel during pretrial conferences may

be used against the Defendant unless it is in writing and signed by the Defendant. See CIPA § 2.

       28.     A copy of this Order shall be issued forthwith to counsel for the Defendant who

shall be responsible for advising the Defendant and representatives of the defense of the contents

of this Order. Counsel for the Defendant, the Defendant, and any other representatives of the

defense who will be provided access to the classified information, shall execute the Memorandum

of Understanding described in paragraphs 14-15 of this Order, and the Defendant and counsel for

the Defendant shall file executed originals of such documents with the Court and the CISO and

serve an executed original upon the government. The execution and filing of the Memorandum of

Understanding is a condition precedent for the Defendant, counsel for the Defendant and any other

representative of the defense to have access to classified information.


        IT IS SO ORDERED.

        Dated this ____ day of July, 2023.




                                                     HON. INDIRA TALWANI
                                                     UNITED STATES DISTRICT JUDGE
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

v.

JACK DOUGLAS TEIXEIRA,

                  Defendant.
___________________________________________/


         MEMORANDUM OF UNDERSTANDING REGARDING RECEIPT OF
                     CLASSIFIED INFORMATION

       Having familiarized myself with the applicable statutes, regulations, and orders, including

but not limited to, Title 18 United States Code, Sections 793, 794, 798, and 1924; the Intelligence

Identities Protection Act, Title 50 U.S.C. Section 3121; Title 18 U.S.C. Section 641; Title 50

U.S.C. Section 783; and Executive Order 13526, I understand that I may be the recipient of

information and documents that concern the present and future security of the United States and

which belong to the United States, and that such documents and information together with the

methods and sources of collecting it are classified by the United States Government. In

consideration for the disclosure of classified information and documents:

        (1)           I agree that I shall never divulge, publish, or reveal either by word, conduct

or any other means, such classified documents and information unless specifically authorized in

writing to do so by an authorized representative of the United States Government; or as expressly

authorized by the Court pursuant to the Classified Information Procedures Act and the Protective

Order entered in United States v. Teixeira, 1:23-cr-10159-IT, in the District of Massachusetts.

       (2)            I agree that this Memorandum will remain forever binding on me.

       (3)            I have received, read, and understand the Protective Order entered by the
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United States District Court on ______________, 2023, in United States v. Teixeira, 1:23-cr-

10159-IT, relating to classified information, and I agree to comply with the provisions thereof.

       (4)            I understand that any prior contractual obligations that may bind me to

continue to protect classified information remain in full force and effect, and are not superseded

by this Memorandum of Understanding. Additionally, I understand that this Memorandum of

Understanding does not absolve me of any criminal or civil penalties that may otherwise be

imposed upon me as a result of my unauthorized disclosure of classified information.

       (5)            The signing of this Memorandum does not waive my or the Defendant’s

right to later challenge the language contained in any of the enumerated paragraphs 1-28 of the

Protective Order Pertaining to Classified Information.



                                                                    _________
Brendan O. Kelley                                                   Date
Counsel for Jack Douglas Teixeira


                                                                    _________
Gene Allen Franco, Esq.                                             Date
Counsel for Jack Douglas Teixeira


                                                                    _________
Michael K. Bachrach, Esq.                                           Date
Counsel for Jack Douglas Teixeira


                                                                    _________
JACK DOUGLAS TEIXEIRA,                                              Date
Defendant
